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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

PHILIP BORRIS

               Plaintiff,
                                                       Civil Action 2:20-cv-5664
                                                       Judge Edmund A. Sargus, Jr.
       v.                                              Magistrate Judge Chelsey M. Vascura

ENTERPRISE TECHNICAL
ASSISTANCE SERVICES, INC.,

               Defendants.

                                             ORDER

        The parties are actively engaging in good-faith settlement negotiations and jointly request

that the case schedule be stayed, until February 28, 2022, so that they may continue negotiations.

The parties’ joint oral motion is GRANTED. Accordingly, this action is STAYED until

FEBRUARY 28, 2022. If the parties have not filed a dismissal entry in accordance with Federal

Rule of Civil Procedure 41(a)(1)(A) or a motion requesting dismissal in accordance with Federal

Rule of Civil Procedure 41(a)(2) ON OR BEFORE FEBRUARY 28, 2022, they are ORDERED

to file a written REPORT detailing the status of this case. If the parties have arrived at an

impasse before February 28, 2022, they must confer and file a motion to lift the stay, attaching a

joint, proposed case schedule.

       IT IS SO ORDERED.



                                                      /s/ Chelsey M. Vascura
                                                     CHELSEY M. VASCURA
                                                     UNITED STATES MAGISTRATE JUDGE
